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WAWD - Application for Leave to Appear Pro Hac Vice (Revised 12/26/12)

United States District Court
Western District of Washington

 

 

 

United States of America
Case Number: 2:11-cr-00070-RAJ-1
Plaintiff(s)
V.
APPLICATION FOR LEAVE TO APPEAR
oman Seleznev PRO HAC VICE
Defendant(s)

Pursuant to LCR 83.1(d) of the United States District Court for the Western District of Washington,

Igor Litak hereby applies for permission to appear

 

and participate as counsel in the above entitled action on behalf of the following party or parties:

 

Roman Seleznev

 

The particular need for my appearance and participation is:

 

Attorney of Record on behalf of Defendant Roman Selenev

 

i, Igor Litvak understand that | am charged with knowing and

 

complying with all applicable local rules;

| have not been disbarred or formally censured by a court of record or by a state bar association;
and there are not disciplinary proceedings against me.

| declare under penalty of perjury that the foregoing is true and correct.

Date; 12/07/2016 Signature of Applicant: s/ 'gor Litvak

 

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Pro Hac Vice Attorney Igor Litvak
Applicant's Name:

 

 

 

 

 

 

 

Law Firm Name: The Litvak Law Firm, PLLC

Street Address 1: 1701 Avenue P

Address Line 2:

City; Brooklyn State: New York NewYork [+] Zip: 11229

Phone Number w/ Area Code 718-989-2908 Bar # 9109749 State NewYork [+]
Primary E-mail Address: 'gor@LitvaklawNY.com Secondary E-mail Address: '90rBLitvak@Gmail.com

 

STATEMENT OF LOCAL COUNSEL

| am authorized and will be prepared to handle this matter, including trial, in the event the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

applicant Igor Litvak is unable to be present upon any date
assigned by the court.

Date: 12/07/2016 Signature of Local Counsel: s/ Matthew Furness

Local Counsel's Name: —|Matthew S. Furness Bar #|43649
Law Firm Name: Furness Law

Street Address 1: 85 S. Washington Street

Address Line 2: Suite 312

City: jSeattle State: |WA Zip:  |98104

Corte Erp: 999-999-9999 206-682-2602

 

 

 

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Electronic Case Filing Agreement

By submitting this form, the undersigned understands and agrees to the following:

1. The CM/ECF system is to be used for filing and reviewing electronic documents, docket sheets, and
notices.

2. The password issued to you by the court, combined with your login, serves as your signature under
Federal Rule of Civil Procedure 11. Therefore, you are responsible for protecting and securing this
password against unauthorized use.

3. If you have any reason to suspect that your password has been compromised in any way, you are
responsible for immediately notifying the court. Members of the court's systems staff will assess the
risk and advise you accordingly.

4 By signing this Registration Form, you consent to receive notice electronically, and to waive your
right to receive notice by personal service or first class mail pursuant to Federal Rule of Civil Procedure
5(b)(2)(C), except with regard to service of a complaint and summons. This provision does include
electronic notice of the entry of an order or judgment.

5. You will continue to access court information via the Western District of Washington's internet site
or through the Public Access to Court Electronic Records (PACER) system. You will continue to need a
PACER login, in addition to the court-issued password. You can register for PACER at their web site:
http://pacer.psc.uscourts.gov.

6. By this registration, the undersigned agrees to abide by the rules and regulations in the most

recent General Order, the Electronic Filing Procedures developed by the Clerk's Office, and any
changes or additions that may be made to such administrative procedures in the future.

s/tgor Litvak 12/07/2016

 

Signature (use an "s/" and type your name) Date Signed

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